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                Exhibit Y
8/24/2021                              https://www.sec.gov/Archives/edgar/data/0001410428/000110465920099680/tm2029683-1_424b5.htm
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 424B5 1 tm2029683-1_424b5.htm 424B5
                                                                                                                                         Filed Pursuant to Rule 424(b)(5)
                                                                                                                                   Registration Statement No. 333-240084

 PROSPECTUS SUPPLEMENT
 (To Prospectus dated August 5, 2020)


                                                   XPRESSPA GROUP, INC.
                                                               10,407,408 Shares of Common Stock
                                                Pre-Funded Warrants to Purchase 809,524 shares of Common Stock
                                                     Warrants to Purchase 11,216,932 shares of Common Stock
                                      (and the shares of Common Stock underlying such Pre-Funded Warrants and Warrants)

     We are offering an aggregate of 10,407,408 shares of our common stock, par value $0.01 per share (the “Common Stock”) and warrants to purchase 11,216,932
 shares of our Common Stock (the “Warrants”) at a combined purchase price equal to $3.15 per share. Each Warrant is exercisable for one share of our Common Stock at
 an exercise price of $3.02 per share. The Warrants are immediately exercisable and may be exercised at any time until August 29, 2022. We are also offering to certain
 purchasers pre-funded warrants to purchase an aggregate of 809,524 shares of Common Stock (the “Pre-Funded Warrants”), in lieu of shares of Common Stock. Each
 Pre-Funded Warrant is exercisable for one share of our Common Stock. The purchase price of each Pre-Funded Warrant is equal to the price at which a share of Common
 Stock is sold to the public in this offering, minus $0.001, and the exercise price of each pre Pre-Funded Warrant is $0.001 per share. The Pre-Funded Warrants are
 immediately exercisable and may be exercised at any time until all of the Pre-Funded Warrants are exercised in full. This offering also relates to the shares of Common
 Stock issuable upon exercise of the Warrants and Pre-Funded Warrants sold in this offering.

     Our Common Stock is listed on The Nasdaq Capital Market, or Nasdaq, under the symbol “XSPA.” The last reported sale price of our Common Stock on August 25,
 2020 was $3.30 per share.

     You should read this prospectus supplement and the accompanying prospectus and the documents incorporated by reference in this prospectus supplement carefully
 before you invest.

     See “Risk Factors” on page S-6 of this prospectus supplement to read about factors you should consider before buying shares of our Common Stock.

     Neither the Securities and Exchange Commission nor any state securities commission has approved or disapproved of these securities or determined if this
 prospectus supplement is truthful or complete. Any representation to the contrary is a criminal offense.

      We have engaged H.C. Wainwright & Co., LLC, or the placement agent, as our exclusive placement agent in connection with this offering. The placement agent has
 no obligation to buy any of the securities from us or to arrange for the purchase or sale of any specific number or dollar amount of securities. We have agreed to pay the
 placement agent the placement agent fees set forth in the table below. Pursuant to this prospectus supplement and the accompanying prospectus, we will also issue
 warrants to purchase up to 897,355 shares of our common stock (the “Placement Agent Warrants”) to the placement agent, or its designees, as part of the compensation
 payable to the placement agent (the shares of common stock issuable upon exercise of the Placement Agent Warrants are also being registered hereby). The Placement
 Agent Warrants will have an exercise price of $3.9375 per share and will expire 24 months from the date of issuance. See “Plan of Distribution” beginning on page S-16
 of this prospectus supplement for more information regarding these arrangements.

                                                                                                                                    Per Share                Total
 Public offering price                                                                                                         $           3.1500     $    35,333,335.80
 Placement agent fees(1)                                                                                                       $           0.2363     $     2,650,000.19
 Proceeds, before expenses, to us                                                                                              $           2.9137     $    32,683,335.61

 (1) In addition, we have agreed to pay a management fee of 1.0% of the gross proceeds raised in this offering. See “Plan of Distribution” beginning on page S-16 for
     more information regarding the placement agent’s compensation.

     Delivery of the shares of our Common Stock, Warrants and Pre-Funded Warrants being offered pursuant to this prospectus supplement and the accompanying
 prospectus is expected to be made on or about August 28, 2020.

                                                                    H.C. Wainwright & Co.

                                                      The date of this prospectus supplement is August 25, 2020.




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                                                                PROSPECTUS SUPPLEMENT SUMMARY

        The following is only a summary. We urge you to read the entire prospectus, including the more detailed consolidated financial statements, notes to the
   consolidated financial statements and other information included herein or incorporated by reference from our other filings with the Securities and Exchange
   Commission, or SEC. Investing in our securities involves risks. Therefore, please carefully consider the information provided under the heading “Risk Factors”
   starting on page S-6.

   Overview

       On January 5, 2018, we changed our name to XpresSpa Group, Inc. (“XpresSpa Group” or the “Company”) from FORM Holdings Corp. We rebranded to
   XpresSpa Group to align our corporate strategy to build a pure-play health and wellness services company, which commenced following our acquisition of XpresSpa
   Holdings, LLC (“Holdings” or “XpresSpa”) on December 23, 2016 (XpresSpa Group, Inc. and Holdings consolidated is referred to as the “Company”).

       As a result of the transition to a pure-play health and wellness services company, we currently have one operating segment that is also our sole reporting unit,
   XpresSpa, the leading airport retailer of spa services. XpresSpa offers travelers premium spa services, including massage, nail and skin care, as well as spa and travel
   products. XpresSpa is a well-recognized airport spa brand with 51 locations, consisting of 46 domestic and 5 international locations as of December 31, 2019. During
   2019 and 2018, XpresSpa generated $48,515,000 and $50,094,000 in revenue, respectively. In 2019 and 2018, approximately 82% of XpresSpa’s total revenue in both
   years was generated by services, primarily massage and nailcare. In 2019 and 2018, retail products and travel accessories accounted for 15% and 16%, respectively, of
   revenue and 3% and 2%, respectively, was other revenue.

       On July 8, 2019, we entered into an amended and restated product sale and marketing agreement, with Calm, Inc. (“Calm”), a company that has developed the
   leading app for sleep, meditation and relaxation. The agreement primarily allows for the display, marketing, promotion, offer for sale and sale of Calm’s products in
   each of our branded stores worldwide. The agreement will remain in effect until July 31, 2021, unless terminated earlier in accordance with the terms of the agreement,
   and automatically renews for successive terms of six months unless either party provides written notice of termination no later than thirty days prior. On October 30,
   2019, we entered into the second amendment to the agreement with Calm, which provides for the addition of other Calm branded products available for sale in
   XpresSpa spas.

        On October 30, 2019, we signed a strategic partnership with Persona™, a Nestlé Health Science company and leading personalized vitamin subscription program,
   to offer Persona’s products in all of our domestic airport locations with our staff trained on the products by Persona’s nutritionists. Customers are able to purchase three
   different nutrition packs designed especially for travelers to support relaxation, immunity or jet lag, with customers receiving an exclusive discount on their first order.
   XpresSpa launched Persona in its airport locations in December 2019.

   Recent Developments

   Newly launched XpresCheck™ brand

        On May 22, 2020, the Company announced the signing of a contract with JFK International Air Terminal LLC (“JFKIAT”) to pilot test our concept of providing
   diagnostic COVID-19 tests located in Terminal 4. To facilitate the JFK pilot test, the Company signed an agreement with JFKIAT for a new modular constructed
   testing facility within the terminal that will host nine separate testing rooms with a capacity to administer over 500 tests per day. The pilot test at JFK launched on June
   22, 2020.

        On August 13, 2020, the Company announced that it had signed a contract with the Port Authority of New York and New Jersey to provide diagnostic COVID-19
   testing at Newark Liberty International Airport through its XpresCheck brand. The Company opened its modular constructed testing facility within Terminal B, which
   hosts 6 separate testing rooms with a capacity to administer over 350 tests per day, on August 17, 2020.



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